                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 1 of 14 Page ID
                                                 #:57004

             1     JOSHUA H. LERNER, SBN 220755
                     joshua.lerner@wilmerhale.com
             2     WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             3     1 Front Street, Suite 3500
                   San Francisco, CA 94111
             4     Tel.: 628.235.1124 / Fax: 628.235.1001
             5     H. MARK LYON, SBN 162061
                     mlyon@gibsondunn.com
             6     GIBSON, DUNN & CRUTCHER LLP
                   1881 Page Mill Road
             7     Palo Alto, CA 94304-1211
                   Tel.: 650.849.5300 / Fax: 650.849.5333
             8
                   BRIAN M. BUROKER, pro hac vice
             9       bburoker@gibsondunn.com
                   GIBSON, DUNN & CRUTCHER LLP
           10      1050 Connecticut Avenue, N.W.
                   Washington, D.C. 20036
           11      Tel.: 202.955.8500 / Fax: 202.467.0539
           12      [Counsel appearance continues on next page]
           13      Attorneys for Defendant Apple Inc.
           14                      UNITED STATES DISTRICT COURT
           15            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  APPLE’S NOTICE AND EX PARTE
           18      a Delaware corporation,                       APPLICATION FOR AN ORDER
                                                                 STAYING PORTIONS OF SPECIAL
           19                         Plaintiffs,                MASTER ORDER NO. 15
           20            v.
                                                                 No Hearing Noticed
           21      APPLE INC.,
                   a California corporation,
           22
                                      Defendant.
           23
           24
                        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
           25
           26
           27
           28
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Wilmer Cutler
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 2 of 14 Page ID
                                                 #:57005

             1     BRIAN A. ROSENTHAL, pro hac vice
                    brosenthal@gibsondunn.com
             2     GIBSON, DUNN & CRUTCHER LLP
                   200 Park Avenue
             3     New York, NY 10166-0193
                   Tel.: 212.351.2339 / Fax: 212.817.9539
             4
                   ILISSA SAMPLIN, SBN 314018
             5       isamplin@gibsondunn.com
                   GIBSON, DUNN & CRUTCHER LLP
             6     333 South Grand Avenue
                   Los Angeles, CA 90071-3197
             7     Tel.: 213.229.7000 / Fax: 213.229.7520
             8     ANGELIQUE KAOUNIS, SBN 209833
                    akaounis@gibsondunn.com
             9     GIBSON, DUNN & CRUTCHER LLP
                   2029 Century Park East Suite 4000
           10      Los Angeles, CA 90067
                   Tel.: 310.552.8546 / Fax: 310.552.7026
           11
                   KENNETH G. PARKER, SBN 182911
           12       Ken.parker@haynesboone.com
                   HAYNES AND BOONE, LLP
           13      660 Anton Boulevard Suite 700
                   Costa Mesa, CA 92626
           14      Tel. 650.949.3014 / Fax: 949.202.3001
           15      MARK D. SELWYN, SBN 244180
                    mark.selwyn@wilmerhale.com
           16      WILMER CUTLER PICKERING
                    HALE AND DORR LLP
           17      2600 El Camino Real, Suite 400
                   Palo Alto, CA 94306
           18      Tel.: 650.858.6000 / Fax: 650.858.6100
           19      NORA Q.E. PASSAMANECK, pro hac vice
                    nora.passamaneck@wilmerhale.com
           20      WILMER CUTLER PICKERING
                    HALE AND DORR LLP
           21      1225 Seventeenth St., Suite 2600
                   Denver, CO 80202
           22      Tel: 720.274.3152 / Fax: 720.273.3133
           23
           24
           25
           26
           27
           28
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Wilmer Cutler
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 3 of 14 Page ID
                                                 #:57006

             1                          NOTICE OF EX PARTE APPLICATION
             2           PLEASE TAKE NOTICE that, pursuant to Local Rule 7-19, Defendant Apple
             3     Inc. (“Apple”) hereby submits this Ex Parte Application for an order staying
             4     enforcement of portions of Special Master Order No. 15 dated September 8, 2022, Ex.
             5     1, until seven days after this Court rules on Apple’s forthcoming Objections to Special
             6     Master Order No. 15. Specifically, Apple requests that this Court stay the portions of
             7     the Order that require Apple to produce a wide range of information and documents
             8     related to                    by Thursday, September 15, 2022.
             9           This Application is made ex parte on the grounds that: (1) absent a stay, Apple
           10      will suffer irreparable prejudice, in that it will be denied Article III review of its
           11      Objections and be forced to produce information—including highly sensitive, technical
           12      information—regarding its own technology unrelated to the core issues in this litigation
           13      and its relationship to a third-party with no connection to this litigation; (2) Apple did
           14      not create the need for ex parte relief—Special Master Order No. 15 set a deadline of
           15      September 15, 2022 for compliance and the Special Master is unavailable for the next
           16      two weeks; and (3) Apple’s request for a stay is meritorious. See Mission Power
           17      Engineering Co. v. Continental Casualty Co., 883 F. Supp. 488, 492-493 (C.D. Cal.
           18      1995). Apple filed a similar request with the Special Master on Friday, September 9,
           19      2022—the day after receiving the order at issue—but received an automated response
           20      that the Special Master is out of contact until September 25, 2022. Ex. 2 at 1.
           21            Pursuant to Local Rule 7-19, counsel for Apple gave notice of this Application to
           22      counsel for Plaintiffs on September 10, 2022 and requested to meet and confer either on
           23      Sunday, September 11, 2022 or Monday, September 12, 2022. Although Plaintiffs filed
           24      an opposition to Apple’s stay request at 11:16pm PST on September 11, they did not
           25      respond to Apple’s request to meet and confer. On September 12, 2022, at 9:00am PST,
           26      Apple called Plaintiffs’ counsel and notified them of the specific date and contents of
           27
           28

Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                              i           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 4 of 14 Page ID
                                                 #:57007

             1     this Application. Passamaneck Decl. ¶ 4. Plaintiffs’ counsel subsequently stated that
             2     Plaintiffs intend to oppose this Application. Id.
             3           The contact information for Plaintiffs’ counsel is as follows:
             4           Joseph R. Re (Bar No. 134479)
                         joseph.re@knobbe.com
             5           Stephen C. Jensen (Bar No. 149894)
                         steve.jensen@knobbe.com
             6           Benjamin A. Katzenellenbogen (Bar No. 208527)
                         ben.katzenellenbogen@knobbe.com
             7           Perry D. Oldham (Bar No. 216016)
                         perry.oldham@knobbe.com
             8           Stephen W. Larson (Bar No. 240844)
                         stephen.larson@knobbe.com
             9           KNOBBE, MARTENS, OLSON & BEAR, LLP
                         2040 Main Street, Fourteenth Floor
           10            Irvine, CA 92614
                         Telephone: (949)-760-0404
           11            Facsimile: (949)-760-9502
           12            Adam B. Powell (Bar No. 272725)
                         adam.powell@knobbe.com
           13            Daniel P. Hughes (Bar No. 299695)
                         daniel.hughes@knobbe.com
           14            KNOBBE, MARTENS, OLSON & BEAR, LLP
                         3579 Valley Centre Drive
           15            San Diego, CA 92130
                         Telephone: (858) 707-4000
           16            Facsimile: (858) 707-4001
           17            Mark D. Kachner (Bar No. 234192)
           18            mark.kachner@knobbe.com
                         KNOBBE, MARTENS, OLSON & BEAR, LLP
           19            1925 Century Park East, Suite 600
                         Los Angeles, CA 90067
           20            Telephone: (310) 551-3450
                         Facsimile: (310) 551-3458
           21            This Ex Parte Application is based on this Notice, the accompanying
           22      Memorandum of Points and Authorities, the accompanying Declaration of Nora
           23      Passamaneck and Exhibits appended thereto, all matters of which judicial notice may be
           24      taken, and such argument and evidence as may be presented at the hearing on this
           25      Application, if any. A proposed order is being lodged for this Court’s consideration.
           26
           27
           28

Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                              ii          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 5 of 14 Page ID
                                                 #:57008

             1                    MEMORANDUM OF POINTS AND AUTHORITIES
             2     I.    INTRODUCTION
             3           On Thursday, September 8, 2022, the Special Master issued Order No. 15, which
             4     inter alia requires Apple to produce documents and information related to
             5               , a third-party with no connection to this case. Apple intends to ask this Court
             6     to review this portion of Order No. 15. Apple will file objections with this Court by no
             7     later than September 19, 2022, which will allow a hearing to be noticed for October 17,
             8     2022—the earliest possible date available based on Local Rule 6-1 and this Court’s
             9     calendar. However, because the Special Master’s ruling requires production of the
           10               discovery materials by September 15, 2022, a stay is necessary to preserve
           11      Apple’s right to have this Court review the Special Master’s decision.
           12            Courts in this District routinely grant stays of magistrate judge discovery orders
           13      pending review when the failure to do so would effectively deny the requesting party
           14      the right to Article III review. See, e.g., Gamino v. KPC Healthcare Holdings, Inc.,
           15      2021 WL 2309972, at *1 (C.D. Cal. May 10, 2021); Zargarian v. BMW of N. Am., LLC,
           16      2019 WL 6111734, at *1 (C.D. Cal. Oct. 15, 2019). Moreover, the requirements for ex
           17      parte relief are easily satisfied. Apple is not at fault for creating the need for an ex parte
           18      application, as the Special Master’s seven-day deadline necessarily made it impossible
           19      for Apple to seek a stay through the normal process laid out in Local Rule 6-1, and Apple
           20      sought a stay from the Special Master the day after Order No. 15 was issued (only to
           21      learn that the Special Master was out of contact until September 25, 2022). See Ex. 2.
           22      Apple will suffer irreparable harm if the stay is not granted, as it will be required to
           23      produce irrelevant information (some of which is highly sensitive, technical
           24      information), which once seen cannot be unseen.
           25      II.   BACKGROUND
           26            On April 7, 2022, Plaintiffs served a subpoena on                           that raised
           27      37 requests for documents (later narrowed to 22). Ex. 4 at 1. On May 13, 2022—the
           28

Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                              1           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 6 of 14 Page ID
                                                 #:57009

             1     deadline to serve written discovery—Plaintiffs served Apple with eight RFPs and one
             2     interrogatory, each of which mirrors one of the original 37 requests in the
             3     subpoena. Id. at 2. On May 24, 2022, Plaintiffs filed a motion with the Special Master
             4     seeking to compel                 compliance with the subpoena. Id. at 1. In explaining
             5     relevance, Plaintiffs’ motion raised two new legal theories that did not appear in the
             6     various iterations of the complaint or any earlier brief in this case: (1) Apple was using
             7                 as a proxy to control the defendant in the True Wearables secret litigation and
             8     (2)                                                                          Id.
             9              On August 9, 2022, this Court held that Plaintiffs were barred from pursuing their
           10      collateral estoppel theory. Dkt. 896 at 3-5.1 As relevant here, this Court stated that
           11      Plaintiffs’ decision to raise the collateral estoppel argument for the first time in the May
           12      24, 2022 motion was “too late.” Id. at 4. As with “any claim or defense,” such an
           13      argument “should be brought to light reasonably soon enough in the litigation to provide
           14      notice and an opportunity to investigate and respond.”           Id. at 5.   “Pursuing this
           15      [argument] after the written-discovery cut-off is not acceptable.” Id. In sum, this Court
           16      refused to “endorse Masimo’s strategy” of introducing a new argument “at this late hour
           17      when Apple effectively has no opportunity to take its own discovery potentially
           18      demonstrating that the theory cannot apply here.” Id.
           19               On August 12, 2022, three hours before the close of fact discovery, Plaintiffs filed
           20      a motion to compel Apple to produce information and documents responsive to the
           21                  discovery requests.    Ex.   4 at 3.    Plaintiffs’ motion essentially tried to
           22      circumvent this Court’s August 9 order, and in fact failed to mention it at all. Instead,
           23      Plaintiffs once again argued that information regarding               was relevant because
           24
           25                                            Ex. 3 at 2. Apple opposed the motion, arguing inter
           26
           27
                   1
                    While the ruling is dated August 6, 2022, it did not appear on the docket (and was not
           28      distributed) until August 9, 2022.
Wilmer Cutler
                       APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                                 2           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 7 of 14 Page ID
                                                 #:57010

             1     alia that
             2
             3
             4
             5                          Ex. 4 at 3-5.
             6            On September 8, 2022, at 12:24pm PST, the Special Master denied Plaintiffs’
             7     motion in part, but granted it as to four specific discovery requests: RFP Nos. 682, 683,
             8     and 691, and Interrogatory No. 28. Ex. 1 at 3, 7-11 (Special Master Order No. 15).
             9     Specifically, the Special Master ordered Apple to produce:
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27      2 The Special Master ordered production on this request

           28                                                                                Ex. 1 at 9.
Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                              3           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 8 of 14 Page ID
                                                 #:57011

             1
             2
             3     Ex. 1 at 8-10. The Special Master’s Order required Apple to produce the responsive
             4     information documents “within seven days.” Id. at 11.
             5            On September 9, 2022, at 12:52pm PST, Apple informed Plaintiffs that Apple
             6     intended to object to the         -discovery related portions of Special Master Order No.
             7     15. Ex. 5 at 1. Apple also notified Plaintiffs that it would file a request that the Special
             8     Master stay the relevant portions of its order pending this Court’s review, and sought
             9     their position. Id. Apple stated that if Plaintiffs did not respond by 6pm PST, Apple
           10      would assume that they opposed the stay. Id. When Plaintiffs did not respond, Apple
           11      filed its stay request at 6:17pm PST. Ex. 2.
           12             Shortly after submitting the stay request, Apple received an automated response
           13      from the Special Master’s email account indicating he was “out of contact until
           14      September 25, 2022.” Ex. 2. Before receiving that e-mail, Apple was unaware of the
           15      Special Master’s unavailability during this time. Passamaneck Decl. ¶ 6.
           16             On September 10, 2022, Apple informed Plaintiffs of the Special Master’s
           17      automated message and requested Plaintiffs’ availability for a meet and confer regarding
           18      the instant ex parte application. Ex. 2. Apple’s counsel called Plaintiffs’ counsel at
           19      9:00am PST on September 12, 2022, and Plaintiffs indicated that they oppose this
           20      motion. Passamaneck Decl. ¶ 4.
           21      III.   ARGUMENT
           22             A. This Court Should Order A Brief Stay To Permit Article III Review
                          1.    Courts in this District have granted stays of magistrate judge discovery
           23
                   orders pending review when—as here—the failure to grant the stay would effectively
           24
                   deny the requesting party the right to Article III review, and the request for a stay was
           25
                   not brought for inappropriate reasons. See, e.g., Gamino v. KPC Healthcare Holdings,
           26
                   Inc., 2021 WL 2309972, at *1 (C.D. Cal. May 10, 2021) (Blumenthal, J.) (granting
           27
                   stay because “Defendants would be deprived of any meaningful right to
           28

Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                              4           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 9 of 14 Page ID
                                                 #:57012

             1     reconsideration of the discovery order by this Court” and motion was not brought to
             2     vex or delay); Zargarian v. BMW of N. Am., LLC, 2019 WL 6111734, at *1 (C.D. Cal.
             3     Oct. 15, 2019) (Abrams, M.J.) (staying “compliance with the Discovery Order until
             4     such time as the District Judge has ruled on defendant’s Motion for Review” because
             5     “to do otherwise would deny defendant of its right to have Local Rule 72 District
             6     Judge review of the Discovery Order”); see also Alvarez v. Larose, 2020 WL 5632659,
             7     at *2 (S.D. Cal. Sept. 21, 2020) (granting stay where absence of stay “would
             8     effectively deprive Respondents of their right to reconsideration of the Discovery
             9     Order by the district judge altogether”). Plaintiffs’ opposition brief in front of the
           10      Special Master had no answer to this point (beyond their unsupported suggestion that a
           11      party should seek a stay in the district court via an ex parte application instead of first
           12      asking the Special Master or magistrate judge for relief).
           13            Moreover, the stay is necessary to avoid prejudice to Apple. This Court denied
           14      Plaintiffs the relief that they have now succeeded in obtaining through the Special
           15      Master’s order. Allowing the Special Master’s              -discovery ruling to go into
           16      effect would cause Apple substantial, irreparable harm, as it would require Apple to
           17      produce detailed information—some of which is highly sensitive, technical
           18      information that Apple has taken pains to keep secret—from and regarding a third-
           19      party that has no connection to this litigation. Once Plaintiffs have seen that sensitive
           20      (and irrelevant) information, “there is nothing a court can do to withdraw all
           21      knowledge or information that [Plaintiffs] may have acquired.” Maxcrest Limited v.
           22      United States, 2016 WL 6599463, at *4-5 (N.D. Cal. Nov. 7, 2016). For example, if
           23      the Special Master’s ruling is not stayed, Apple will be forced to provide “detail[ed]”
           24      information
           25
           26                      (as opposed to the                                             at the heart
           27      of this case). See Ex. 1 at 10.
           28

Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                              5           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 10 of 14 Page ID
                                                  #:57013

             1              By contrast, Plaintiffs will suffer no undue harm from a brief stay. Any delay in
             2     receiving discovery lies with Plaintiffs, as they made the strategic decision both to wait
             3     (1) until the deadline for written discovery to serve the underlying discovery requests
             4     and (2) until three hours before the close of fact discovery to file the underlying motion
             5     to compel. See supra pp. 1-2. Had they filed their discovery requests or their motion
             6     to compel sooner (e.g., at the time that they filed their          subpoena and motion to
             7     enforce), the Special Master could have resolved this dispute months ago. See Dkt.
             8     893 (July 15, 2022 order on             subpoena).3 Moreover, the Special Master’s
             9     order acknowledges that the requested documents and information are only
           10      “                      ,” Ex. 1 at 11, suggesting that any conceivable prejudice Plaintiffs
           11      face from the delay in receiving the discovery is minimal.
           12               Finally, if this Court denies Apple’s objection to the Special Master’s order,
           13      Plaintiffs’ receipt of the          discovery materials will only be delayed by a little
           14      over a month. See Velasquez-Reyes v. Samsung Electronics America, Inc., 2018 WL
           15      6074573, at *3 (C.D. Cal. Mar. 8, 2018) (finding irreparable injury to party seeking
           16      stay pending appeal outweighed any harm caused to non-moving party by delay, where
           17      appellate briefing would be complete in two months). Specifically, Apple commits to
           18      self-expediting its appeal by filing its objections on Monday, September 19, 2022.
           19      That will allow for the matter to be noticed for hearing on October 17, 2022.4 This
           20      Court has generally issued its ruling on prior objections shortly before the noticed
           21
           22
           23      3
                     Plaintiffs argued below they did not know of              relevance until the True
                    Wearables trial. But at minimum, they could have served discovery on Apple and
           24                in parallel. In any event, the Special Master found the information/documents
                   sought here are relevant not because of any connection to True Wearables but because
           25      they                                                                          Ex. 1 at 11.
           26      4 October 17 is the earliest date that Apple’s objections can be heard pursuant to Local
                   Rule 6-1. Even if Apple filed its motion the same day Special Master Order No. 15
           27      issued, the earliest possible date for hearing would have been October 10, 2022. This
                   Court’s calendar indicates that day is unavailable. See https://ww.cacd.uscourts.gov/
           28      honorable-james-v-selna (visited Sept. 12, 2022).
Wilmer Cutler
                       APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                                 6           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 11 of 14 Page ID
                                                  #:57014

             1     hearing date. See, e.g., Dkt. 816 (ruling on Special Master Order No. 9 issued three
             2     days before hearing date).
             3           Apple believes this Court can and should grant the stay based on the above
             4     analysis. While some courts outside this District have applied the four factors used for
             5     determining whether to seek a stay of a district court ruling pending appeal to an
             6     appellate court (which require the moving party to address whether it is likely to
             7     prevail on the merits), courts in this District have stayed discovery orders pending
             8     review regardless of their view of the underlying merits. See, e.g., Gamino, 2021 WL
             9     2309972, at *1 (granting stay to avoid prejudice even while acknowledging the court’s
           10      view that the moving party may not prevail on merits); Zargarian, 2019 WL 6111734,
           11      at *1 (not requiring or even mentioning likelihood of success on merits as factor in
           12      granting stay). And even courts from outside this District addressing the issue of
           13      likelihood of success have not required such a showing where a moving party can
           14      show prejudice absent a stay and lack of prejudice to the opposing party from a brief
           15      stay. See Alvarez, 2020 WL 5632659, at *2 (granting stay while expressly
           16      acknowledging the court’s view that the moving party may not prevail on the merits).
           17            2.     To the extent that this Court applies the test for whether to grant a stay
           18      pending appeal, Apple satisfies that test as well. See Nken v. Holder, 556 U.S. 418, 434
           19      (2009); see also Alvarez, 2020 WL 5632659, at *2 (collecting out-of-District cases
           20      relying on Nken).
           21            First, Apple will likely prevail in objecting to the Special Master’s               -
           22      related discovery ruling, at least because
           23
           24
           25                                                                                      , id. at 5.
           26      Indeed, although Plaintiffs have now deposed 24 Apple employees, they have identified
           27      no connection between              and this litigation. To the contrary, Plaintiffs have
           28

Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                              7           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 12 of 14 Page ID
                                                  #:57015

             1     recently elicited testimony from Apple’s Vice President of Hardware Technologies that
             2                only relationship with Apple is as
             3
             4                                  Id. at 4.
             5           Second, Apple will suffer irreparable harm—and Plaintiffs will suffer no undue
             6     harm—from a brief stay. See supra pp. 4-6.
             7           Finally, the public interest favors a stay, as the public is best served by
             8     guaranteeing Article III review of disputed matters in federal court. Cf. Marbury v.
             9     Madison, 5 U.S. 137, 177 (1803) (“It is emphatically the province and duty of the
           10      judicial department to say what the law is.”).
           11            B.     Ex Parte Relief Is Necessary And Appropriate
           12            Apple easily satisfies the requirements for ex parte relief. See Mission Power
           13      Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 492-493 (C.D. Cal. 1995).
           14            First, Apple is not at fault in creating the need for an ex parte motion. In light
           15      of the Special Master’s seven-day deadline, Apple could not seek a stay via a noticed
           16      motion, as Local Rule 6-1 requires all motions to be noticed for at least 28 days in the
           17      future. See Malch v. Dolan, 2018 WL 6017000, at *1-2 (C.D. Cal. Apr. 12, 2018)
           18      (parties bringing ex parte motion were not at fault where they “did not have sufficient
           19      time to bring a properly noticed motion”); see also Fourth Age Limited v. Warner
           20      Bros., 2014 WL 12587039, at *2 (C.D. Cal. May 22, 2014) (a party planning to file
           21      objections to a magistrate judge’s discovery ruling “should … [seek] that [stay] relief
           22      through an ex parte application” rather than through a noticed motion filed on the same
           23      timeline as the objections). Moreover, Apple has been diligent in seeking a stay.
           24      Apple contacted Plaintiffs for their position roughly 24 hours after Special Master
           25      Order No. 15 issued and filed a stay request with the Special Master 5 hours later. See
           26      supra pp. 3-4. And after Apple learned of the Special Master’s unavailability, Apple
           27
           28

Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                              8           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 13 of 14 Page ID
                                                  #:57016

             1     (1) contacted Plaintiffs for their position on this ex parte motion less than 18 hours
             2     later and (2) filed the instant ex parte motion on the next business day. Supra p. 4.
             3           Second, Apple will be irreparably prejudiced if the motion is not granted, in that
             4     it will be forced to produce irrelevant information (including sensitive technical and
             5     business-related documents) that this Court ruled on August 9 that Plaintiffs were not
             6     entitled to. Supra pp. 2, 7; cf. Malach v. Dolan, 2018 WL 6017000, at *1-2, 5 (finding
             7     irreparable prejudice where, inter alia, defendants’ witness would have been required
             8     to answer questions regarding irrelevant discovery topics that constituted a “fishing
             9     expedition”). On a broader level, Apple will also be irreparably prejudiced by being
           10      denied its right to Article III review of the Special Master’s discovery rulings. E.g.,
           11      Gamino, 2021 WL 2309972, at *1 (granting ex parte stay request for this reason).
           12      And, in any event, Apple will likely prevail in its motion for a stay for the reasons
           13      discussed above, diminishing the need to show that any “threatened prejudice would
           14      … be severe.” See Mission Power, 883 F. Supp. at 492; see also supra pp. 7-8.
           15      IV.   CONCLUSION
           16            Apple respectfully requests that the Court grant its ex parte application to stay the
           17      enforcement of the           -related portions of Special Master Order No. 15 against
           18      Apple until seven days after this Court rules on Apple’s forthcoming Objections to that
           19      Order.
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                              9           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 909 Filed 09/12/22 Page 14 of 14 Page ID
                                                  #:57017

             1     Dated: September 12, 2022             Respectfully submitted,
             2
                                                         H. MARK LYON
             3                                           BRIAN M. BUROKER
             4                                           BRIAN A. ROSENTHAL
                                                         ILISSA SAMPLIN
             5                                           ANGELIQUE KAOUNIS
             6                                           GIBSON, DUNN & CRUTCHER LLP
             7                                           KENNETH G. PARKER
             8                                           HAYNES AND BOONE, LLP
             9                                           MARK D. SELWYN
           10                                            JOSHUA H. LERNER
                                                         NORA Q.E. PASSAMANECK
           11                                            WILMER CUTLER PICKERING HALE AND
           12                                            DORR LLP
           13
           14                                            By: /s/ Mark D. Selwyn
                                                             Mark D. Selwyn
           15
           16
                                                         Attorneys for Defendant Apple Inc.
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
                    APPLE’S EX PARTE APP. FOR ORDER STAYING PORTIONS OF SPECIAL MASTER ORDER NO. 15
Pickering Hale
and Dorr LLP
                                                             10           CASE NO. 8:20-cv-00048-JVS (JDEX)
